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                                           UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF MISSOURI
                                                        PROBATION OFFICE
         SCOTT A, ANDERS                                                                                THOMAS F. EAGLETON U.S. COURTHOUSE
     CHIEF U.S. PRO!IA TION OFFIC[R                                                                       111 SOUTH 10TH STREET, SUITE 2.325
                                                                                                                 ST. LOU1S,MO 63102
                                                                                                                     314-244-6700
       KEN R. FITZGERALD                                                                                          ll4-l44-67l~FAX)
   Df.PUTY CHIEF PROBATION OfFICt:R

                                                                                                     RUSH HUDSON LIMBAUCH,SR. U.S. COURTHOUSE
                                                                                                            !SS INDEl'ENDENCE, SUITE U00
           JO C.COOPER                                                                                        CAPE GIRARDEAU, MO 63701
 ASST, DEPUTY CHIEF PROBATION OFFICER
                                                                                                                      573-3Jl-11980
                                                                                                                   573-J31-11986(F/\X)

        TIIOJ\tAS J. BAUER
ASST. DEPUTY CHIEF INFORMATION OFFICER




                                                  REPLY TO: EAGLETON OFFICE

                                                              June 26, 2019

         Lamar Pearson #180062
         (USM #40565-044)
         Moberly Correctional Center
         P.O. Box 7
         Moberly, MO 65270
                                                                                   RE: 4:13CR00I84 CDP
                                                                                   Calculation of jail time

         Dear Mr. Pearson:

         Our office is in receipt of your letter, dated June 7, 2019, requesting a review of the credit you have received for
         time spent in custody in the above noted case, as well as Docket No. 1322-CRI00-0l from the Circuit Court of St.
         Louis, Missouri.

         On January 4, 2013, you were arrested by the St. Louis, Missouri Metropolitan Police Department for the offense of
         Drug Trafficking Second Degree and charged in Docket No. 1322-CRI00-01 in the Circuit Court of St. Louis,
         Missouri. You were also charged for the same conduct, in the U.S. District Court with Possession with Intent to
         Distribute Cocaine Base in Docket No. 4:l3CR00184 CDP. At the time you committed this offense, you were on
         parole for Murder Second Degree and Armed Criminal Action, based on a previously imposed sentence of life
         imprisonment in Docket No. 901-1762 from the St. Louis, Missouri Circuit Court. On January 18, 2013, a parole
         violation warrant was issued.

         On November 25, 2013, you were sentenced in U.S. District Court under Docket No. 4:13CR00l84 CDP to 71
         months imprisonment to be followed by a three year term of supervised release. This sentence was ordered to run
         concurrently with any sentence imposed in Docket No. 1322-CRI00-0I, but consecutively to the parole revocation
         in Docket No. 901-1762. You remained in state custody at the time this sentence was imposed.

         On August 21, 2014, you were sentenced to ten years imprisonment in Docket No. 1322-CRIO0-0I and granted
         credit for time served from January 4, 2013, until the date of the sentence. You remained in state custody for this
         offense until August 27, 2014, when you were returned to the Missouri Department of Corrections for parole
         revocation in Docket No. 901-1762 and service of the sentence in Docket No. 1322-CRI00-0l.

         On November 23, 2015, based on Amendment 782 and the 18 U.S.C. 3582(c)(2) motion, your federal sentence
         under Docket No. 4: 13CR00! 84 CDP was reduced to 57 months imprisonment. However, the Court again noted that
         this sentence was to run consecutively to the parole revocation in Docket No. 901-1762.
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Calculation ofa federal tenn of imprisonment is governed by 18 U.S.C. § 3585 (emphasis added):

                 (a) Commencement of Sentence.- A sentence to a tenn of imprisonment commences on the date
                 the defendant is received in custody awaiting transportation to, or arrives voluntarily to commence
                 service of sentence at, the official detention facility at which the sentence is to be served.
                 (b) Credit for Prior Custody.-A defendant shall be given credit toward the service ofa tenn of
                 imprisonment for any time he has spent in official detention prior to the date the sentence
                 commences-
                 (!) as a result of the offense for which the sentence was imposed; or
                 (2) as a result of any other charge for which the defendant was arrested after the commission of the
                 offense for which the sentence was imposed;
                 that has not been credited against another sentence.

A federal sentence cannot commence prior to the date it is pronounced. Consequently, when a federal sentence is
ordered to run concurrently with a sentence being served, it can only run concurrently with that part of the prior
sentence remaining to be served. You received credit for the time spent in custody from January 4, 2013, until
August 27, 2014, toward your state sentence, so that time cannot be credited toward your federal sentence. In
addition, your federal sentence cannot begin until completion of the sentence in Docket No. 901-1762.

We hope you have found this infonnation helpful. If further assistance is needed, please contact your attorney of
record.


                                                              Sincerely,




                                                              Allison K. Lupo
                                                              Senior U.S. Probation Officer
Approved by:

  JNJ.,..(?~
   is R. Bauer date: 6/25/19
  pervising U.S. Probation Officer
